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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                        §
In re:                                  § Chapter 11
                                        §
TPC GROUP INC. et al.,1                 § Case No. 22-10493 (CTG)
                                        §
                  Debtors.              § Jointly Administered
_______________________________________ §

                                                           Hearing Date: June 2, 2022 9:15 a.m. (Eastern time)

         AD HOC GROUP OF NON-CONSENTING NOTEHOLDERS’ WITNESS AND
                    EXHIBIT LIST FOR FIRST DAY HEARING

          Bayside Capital, Inc. (“Bayside”) and Cerberus Capital Management, L.P. (“Cerberus,”

 and together with Bayside, the “Ad Hoc Group of Non-Consenting Noteholders”) submits this

 witness and exhibit list for the first day hearing scheduled for June 2, 2022 at 9:15 a.m. (ET)

 (the “Hearing”) before the Honorable Craig T. Goldblatt, at the United States Bankruptcy Court

 for the District of Delaware, located at 824 N. Market Street, 3rd Floor, Courtroom No. 7,

 Wilmington, Delaware 19801.

                                                 WITNESSES

          The Ad Hoc Group of Non-Consenting Noteholders designates the following persons as

 witnesses who may be called at the hearing.

          (1)    Alexander Tracy of Perella Weinberg Partners concerning Debtors’ Motion for
          Entry of Interim and Final Orders (I) Authorizing the Debtors to (A) Obtain Senior
          Secured Superpriority Postpetition Financing and (B) Use Cash Collateral, (II) Granting
          Liens and Providing Claims with Superpriority Administrative Expense Status, (III)
          Granting Adequate Protection to Prepetition Secured Parties; (IV) Modifying the
          Automatic Stay; and (V) Granting Related Relief [Docket No. 36] and alternative DIP
          proposals made by Bayside and Cerberus.

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           The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
 identification number, are: TPC Group Inc. (3618); TPC Holdings, Inc. (7380); TPC Group LLC (8313); Texas
 Butylene Chemical Corporation (7440); Texas Olefins Domestic International Sales Corporation (4241); TPC
 Phoenix Fuels LLC (9133); Port Neches Fuels, LLC (1641); and TP Capital Corp. (6248). Each Debtor’s corporate
 headquarters and mailing address is 500 Dallas St., Suite 2000, Houston, Texas 77002.

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       The Ad Hoc Group of Non-Consenting Noteholders also cross designates all witnesses

designated by any other party in connection with the Hearing, and reserves the right to call any

necessary rebuttal or impeachment witnesses.

                                            EXHIBITS

       The Ad Hoc Group of Non-Consenting Noteholders designates the following exhibits

that may be used at the Hearing:

Exhibit No.    Document Description

1              Alternative DIP proposal made by Bayside and Cerberus


       The Ad Hoc Group of Non-Consenting Noteholders also cross designates all exhibits

designated by any other party in connection with the Hearing, and reserves the use additional

exhibits for rebuttal or impeachment purposes.

       The Ad Hoc Group of Non-Consenting Noteholders reserves the right to amend or

supplement this witness and exhibit list prior to the Hearing.




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Dated: June 2, 2022              PACHULSKI STANG ZIEHL & JONES LLP
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                                 Counsel for the Ad Hoc Group of
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